      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 1 of 14



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

VICTORIA WINN and THADDEAUS WINN,
individually and as parents and natural
guardians of their minor child, RAFE WINN,

                       Plaintiffs,

vs.                                                  No. 2:14-CV-01113-JAP-SMV

CARLSBAD MEDICAL CENTER LLC, ON-
LINE RADIOLOGY MEDICAL GROUP INC.,
and PECOS VALLEY OF NEW MEXICO,
LLC

                       Defendants.

          SECOND AMENDED COMPLAINT FOR MEDICAL NEGLIGENCE,
              RESPONDENT SUPERIOR, PERSONAL INJURIES AND
                  VIOLATIONS OF UNFAIR PRACTICES ACT

       COME NOW Plaintiffs Victoria Winn and Thaddeaus Winn, individually and as parents and

natural guardians of their minor child, Rafe Winn, by and through their attorney of record, Will

Ferguson & Associates (Robert C. Gutierrez) and pursuant to the Federal Rules of Civil Procedure,

hereby state for their complaint the following:

                  GENERAL FACTUAL ALLEGATIONS AND ALLEGATIONS OF
             JURISDICTION THAT ARE COMMON TO ALL COUNTS OF COMPLAINT

1.     This is a civil lawsuit for personal injuries and other damages resulting from the Defendants’

negligent failure to appropriately diagnose and treat appendicitis in the eleven (11) year old minor

Plaintiff Rafe Winn on February 24th and 25th, 2014 at the local hospital in Carlsbad New Mexico.

2.     The Plaintiffs Victoria Winn and Plaintiff Thaddeaus Winn, husband and wife, are the

parents and natural guardians of the minor Plaintiff, Rafe Winn, and Plaintiffs are citizens of the

State of New Mexico.

                                           Page 1 of 14
       Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 2 of 14



3.      The Defendant Carlsbad Medical Center, LLC, is and was at all relevant times to this

complaint a foreign for profit Delaware limited liability company, with a corporate mailing address

of 1013 Centre Road, Wilmington, DE-19805 and was doing business at 2430 W. Pierce St.,

Carlsbad, New Mexico, as the Carlsbad Medical Center for the purpose of providing medical

healthcare services to the public. In its answer to Plaintiffs First Amended Complaint, the Defendant

Carlsbad Medical Center, LLC admitted that there are no Members of Carlsbad Medical Center, LLC

with New Mexico citizenship or residency.

4.      At all times material to this complaint, the Carlsbad Medical Center held itself out as the

community healthcare provider; that it was a 115-bed facility with inpatient, outpatient, diagnostic,

medical, surgical and emergency services; that it had 40 healthcare professionals to care for the

public it served; and that it is an accredited hospital with a Level III Trauma Center.

5.      At all times material to this complaint, Defendant Carlsbad Medical Center LLC was not a

qualified health care provider within the meaning of the New Mexico Medical Malpractice Act.

6.      The Defendant On-Line Radiology Medical Group Inc., is and was at all relevant times to

this complaint a foreign for profit California corporation, with its corporate address and principal

place of business located at 1770 Iowa Ave.#280 Riverside, CA-92507. Upon reasonable

information and belief, On-Line Radiology Medical Group Inc. was doing business in Carlsbad New

Mexico through Co-Defendant, Carlsbad Medical Center LLC d/b/a Carlsbad Medical Center for

the purpose of providing radiology medical services.

7.      At all times material to this complaint, Defendant On-Line Radiology Medical Group. Inc.,

was not a qualified health care provider within the meaning of the New Mexico Medical Malpractice

Act.


                                            Page 2 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 3 of 14



8.     The Defendant Pecos Valley of New Mexico, LLC is and was at all relevant times to this

complaint a foreign for profit Delaware limited liability company, with its corporate mailing address

of 1013 Centre Road, Wilmington, DE, with Delaware incorporation number#1996255 and was

doing business as the Pecos Valley Physician Group located at 2423 W. Pierce Carlsbad, NM

88220 for the purpose of providing medical physician services to the public through its clinic and

affiliation with Carlsbad Medical Center. The New Mexico corporation records list John M. Franck

II in the section for Officers/Organizer Information as the “Manager” of Pecos Valley of New

Mexico, LLC. In the section for Directors Information, the New Mexico corporation records state:

“No Records Found”. The New Mexico corporation records do not list the individual Members of

the LLC or provide any information about the Members of Pecos Valley of New Mexico, LLC. After

due inquiry, Plaintiffs have been unable to identify the individual Members of the LLC and therefore

upon reasonable information and belief Plaintiffs allege that there are no Members of Pecos Valley

of New Mexico, LLC with New Mexico citizenship or residency.

9.     At all times material to this complaint, the Pecos Valley of New Mexico, LLC held itself out

as the provider of physician medical services in various specialities, including but not limited to

pediatrics, general surgery and internal medicine and that their medical doctors were affiliated with

and had admission privileges at Carlsbad Medical Center.

10.    At all times material to this complaint, Defendant Pecos Valley of New Mexico, LLC was

not a qualified health care provider within the meaning of the New Mexico Medical Malpractice Act.

11.    The medical treatment at issue in this lawsuit occurred on or about February 24th and 25th,

2014 at the Carlsbad Medical Center in Carlsbad, New Mexico.

12.    On Monday morning, February 24, 2014, the minor Plaintiff Rafe Winn (DOB 07/16/2002)


                                            Page 3 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 4 of 14



was taken by his parents, the Plaintiffs Victoria Winn and Thaddeaus Winn, to pediatrician, Dr.

Kwok Sung, because Rafe had nausea and vomiting overnight, intense stomach pain, no appetite and

some fever. After talking with Rafe and his parents and conducting a brief physical, Dr. Sung

decided to admit Rafe directly to the Carlsbad Medical Center to rule out a possible appendicitis.

13.    Rafe was admitted to the Carlsbad Medical Center at approximately 10:19 am on February

24th, 2014, with a diagnosis of “acute abdominal pain, rule out appendicitis” and he underwent

testing that included among other things an abdominal CT Scan.

14.    The abdominal CT with contrast was ordered by Dr. Sung at approximately 10:52 am, was

performed at the Carlsbad Medical Center about 3:05 pm on the 24th and was wrongly interpreted

about 3:35 pm on February 24th, 2014 by the Defendant On-Line Radiology Group Inc.’s radiologist

David Wells MD as showing: “No evidence of acute appendicitis.” Dr. Wells mistakenly believed

the abnormal abdominal findings were suggestive of mesenteric adenitis.

15.    Dr. Sung either negligently failed to personally examine the 3:05 pm abdominal CT with

contrast or also wrongly interpreted the scan as not showing evidence of acute appendicitis.

16.    Dr. Sung never ordered a surgical consultation for Rafe, even though Rafe exhibited signs

of appendicitis, had complaints consistent with an acute abdomen and he didn’t get better while

hospitalized at Carlsbad Medical Center.

17.    On February 24th and 25th , 2014, the Defendants, Carlsbad Medical Center, LLC and On-

Line Radiology Group Inc., negligently failed to evaluate, diagnose and treat Rafe Winn for an acute

inflamed appendix / appendicitis.

18.    When the Defendants failed to determine the cause of their son Rafe’s severe abdominal pain

and didn’t seem to be doing anything make their son better, the Plaintiffs, Victoria Winn and


                                           Page 4 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 5 of 14



Thaddeaus Winn, demanded that Rafe be transferred to the hospital in Lubbock, Texas.

19.    Between about 2:30 to 3:00pm on February 25th, Rafe was taken by CarePlus Ambulance

from Carlsbad Medical Center to the University Medical Center at Texas Tech University in

Lubbock Texas.

20.    When members of the University Medical Center surgical department looked at the Carlsbad

Medical Center’s February 24th abdominal CT Scan for themselves, they diagnosed Rafe with an

acute appendicitis, which was subsequently confirmed by a follow up right lower quadrant

sonography.

21.    On or about February 27th Rafe underwent abdominal surgery at the University Medical

Center consisting of laparoscopic appendectomy for right lower quadrant inflammatory process,

but by that time his appendix had ruptured causing additional injuries, pain and infection, which also

required additional surgery, medication and recovery time. Following surgery Rafe underwent

antibiotic treatment and was initially discharged on March 4th, 2014, but Rafe had to be hospitalized

a second time from March 6th through the 8th, 2014, because of continued infection issues. The

medical bills from University Medical Center total about $37,657.95 and the ambulance

transportation cost about $2,515.11.

22.    This court has subject matter jurisdiction and personal jurisdiction over this matter and all

the parties pursuant to 28 U.S.C. § 1332, because the matter in controversy exceeds the sum of

$75,000.00, exclusive of interests and costs and the controversy is between citizens of different

states. Further, Defendants have acquiesced to the personal jurisdiction of this court through their

actions of providing medical services at the local hospital in Carlsbad New Mexico, pursuant to the

New Mexico Long Arm Statute, NMSA § 38-1-16 (1971).


                                            Page 5 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 6 of 14



         COUNT I - LIABILITY OF DEFENDANT CARLSBAD MEDICAL CENTER LLC
  UNDER DOCTRINE OF RESPONDEAT SUPERIOR AND LIABILITY FOR MEDICAL NEGLIGENCE

23.    Plaintiffs re-allege and incorporate herein as though set forth in the preceding paragraphs of

this complaint.

24.    The medical personnel at Carlsbad Medical Center who provided medical care to the minor

Plaintiff Rafe Winn on February 24th and 25th, 2014, including but not limited to Dr. Kwok Sung and

Dr. David Wells, were employees, ostensible employees, agents and/or apparent agents of

Defendant Carlsbad Medical Center LLC and were acting within the scope and course of their

employment or agency at all such times.

25.    Under New Mexico law, Defendant Carlsbad Medical Center LLC, as the employer or

principal of said employees, ostensible employees, agents and/or apparent agents is vicariously liable

for any negligent acts or omissions of Carlsbad Medical Center’s medical personnel under the

doctrine of Respondeat Superior.

26.    Defendant Carlsbad Medical Center LLC d/b/a Carlsbad Medical Center through its doctors,

radiologists, nurses, employees, ostensible employees, agents and/or apparent agents were under a

duty to possess and apply the knowledge and to use the skill and care ordinarily used by reasonably

well qualified hospital medical providers, practicing under same or similar circumstances, giving due

consideration to the locality involved.

27.    Defendant Carlsbad Medical Center LLC d/b/a Carlsbad Medical Center failed to possess

and apply the knowledge, skill and care ordinarily used by a reasonably well qualified hospital

medical providers acting under same or similar circumstances and giving due consideration to the

locality involved when providing medical diagnoses, treatment and care of the minor Plaintiff Rafe



                                            Page 6 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 7 of 14



Winn on February 24th and 25th, 2014.

28.    Through its doctors, radiologists, nurses, employees, ostensible employees, agents and/or

apparent agents, Defendant Carlsbad Medical Center LLC breached its duties to the Plaintiffs in one

or more of the following ways:

       a.      failing to appropriately and timely examine, evaluate, test, diagnose and treat Rafe

       for appendicitis during his hospitalization of February 24th and 25th, 2014 at the Carlsbad

       Medical Center;

       b.      failing to correctly read and interpret the February 24th 2014 abdominal CT Scan

       performed at the Carlsbad Medical Center;

       c.      failing to provide Rafe with a surgical consultation for his acute abdomen or potential

       appendicitis at any time during his hospitalization of February 24th and 25th, 2014 at the

       Carlsbad Medical Center; and/or

       d.      otherwise failing to act as a reasonably prudent hospital medical provider for a patient

       admitted under a diagnosis of “acute abdominal pain, rule out appendicitis”.

29.    The medical negligence of the Defendant Carlsbad Medical Center LLC also includes failing

to implement and/or follow reasonably appropriate hospital policies and procedures for the

appropriate and timely examination, evaluation, testing, diagnosis and treatment of its patient

admitted to the hospital for acute abdominal pain requiring the need to rule out appendicitis.

30.    Defendant Carlsbad Medical Center LLC’s negligence was a cause of the minor Rafe Winn’s

injuries and damages, including but not limited to additional injuries, pain and infection that

required additional medical treatment, and it is reasonably likely Rafe will require further related

medical treatment for abdominal adhesions or other related care during his life.


                                            Page 7 of 14
         Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 8 of 14



          WHEREFORE, Plaintiffs Victoria Winn and Thaddeaus Winn, individually and as parents

and natural guardians of the Plaintiff minor child, Rafe Winn, pray for reasonable compensatory

damages against Defendant Carlsbad Medical Center LLC in an amount to be proven at trial, for

their costs, for prejudgment and post-judgment interest and for such other and further relief as may

be permitted by law.

            COUNT II - LIABILITY OF DEFENDANT CARLSBAD MEDICAL CENTER LLC
                  FOR VIOLATIONS OF THE UNFAIR CLAIMS PRACTICES ACT

31.       Plaintiffs re-allege and incorporate herein as though set forth in the preceding paragraphs of

this complaint.

32.       The Plaintiffs paid for and maintained health insurance with Blue Cross Blue Shield of New

Mexico (hereinafter also BC/BS), which was effective at the time of the subject medical services and

costs.

33.       The Plaintiffs’ Health Insurance information was provided to Defendant Carlsbad Medical

Center LLC d/b/a Carlsbad Medical Center at the time of the subject medical services and recorded

by Defendant in its own records starting at page one of its record.

34.       Defendant Carlsbad Medical Center LLC negligently or wrongly failed to submit for

processing the subject medical costs/billings for medical services to Plaintiffs’ health insurance

carrier, BC/BS in a timely manner in accordance with standard practice and procedures and its

contract with at BC/BS.

35.       The other the local medical providers in Carlsbad New Mexico, including the ambulance

service and laboratory, who obtained Plaintiffs’ health insurance information from the Defendant

Carlsbad Medical Center, had no problem submitting their billings to BC/BS and had their billings

paid by BCBS.

                                              Page 8 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 9 of 14



36.    After Defendant Carlsbad Medical Center LLC failed to follow established procedure for

submitting Plaintiffs’ billings for payment directly to Plaintiffs’ BC/BS health insurance carrier, the

Defendant then compounded its mistakes by hiring attorneys to wrongfully sue the Plaintiffs for

collection of a wrongful or improper debt.

37.    When Plaintiffs brought the aforementioned wrongful collection situation to the attention of

Defendant Carlsbad Medical Center LLC , it still refused to submit the billings to BC/BS and

continued with its wrongful debt collection.

38.    Through its aforementioned wrongful actions and inactions the Defendant Carlsbad Medical

Center LLC engaged in “unfair or deceptive trade practice” in violation §57-7-2 NMSA and §57-12-

3 NMSA.

39.    The Plaintiffs have been damaged by the unfair and deceptive trade practices of Defendant

Carlsbad Medical Center LLC and they are entitled to actual damages incurred pursuant to § 57-12-

10 B NMSA.

40.    Because Defendant Carlsbad Medical Center LLC willfully engaged in unfair and deceptive

trade practices, the Plaintiffs are entitled to treble their actual damages pursuant to § 57-12-10 (B)

NMSA.

41.    Because Defendant Carlsbad Medical Center LLC engaged in the unfair and deceptive trade

practices, the Plaintiffs are entitled to their attorney fees and costs pursuant to §57-12-10 (C)

NMSA.

42.     Defendant Carlsbad Medical Center LLC’s unfair and deceptive trade practices were a cause

of Plaintiffs’ injuries and damages.

       WHEREFORE, Plaintiffs Victoria Winn and Thaddeaus Winn pray for Unfair Practices Act


                                             Page 9 of 14
       Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 10 of 14



damages against Defendant Carlsbad Medical Center LLC in an amount to be proven at trial, for

their actual damages, for treble their actual damages as allowed by the UPA, for their attorney fees

and costs as allowed by the UPA, for their general costs, for prejudgment and post-judgment

interest, and for such other and further relief as may be permitted by law.

      COUNT III - LIABILITY OF DEFENDANT ON-LINE RADIOLOGY GROUP, INC. UNDER THE
       DOCTRINE OF RESPONDEAT SUPERIOR AND LIABILITY FOR MEDICAL NEGLIGENCE

43.      Plaintiffs re-allege and incorporate herein as though set forth in the preceding paragraphs of

this complaint.

44.      The medical personnel at On Line Radiology Medical Group, Inc., who provided medical

care to the minor Plaintiff Rafe Winn on February 24th and 25th, 2014 at Carlsbad Medical Center

in Carlsbad New Mexico, including but not limited to Dr. David Wells, were employees, ostensible

employees, agents and/or apparent agents of Defendant On Line Radiology Medical Group, Inc and

were acting within the scope and course of their employment or agency at all such times.

45.      Under New Mexico law, Defendant On Line Radiology Medical Group, Inc., as the employer

or principal of said employees, ostensible employees, agents and/or apparent agents is vicariously

liable for any negligent acts or omissions of On Line Radiology Medical Group, Inc.’s medical

personnel under the doctrine of Respondeat Superior.

46.      Defendant On Line Radiology Medical Group, Inc. through its doctors, radiologists,

employees, ostensible employees, agents and/or apparent agents were under a duty to possess and

apply the knowledge and to use the skill and care ordinarily used by reasonably well qualified

radiologist or medical provider, practicing under same or similar circumstances, giving due

consideration to the locality involved.

47.      Defendant On Line Radiology Medical Group, Inc. failed to possess and apply the

                                             Page 10 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 11 of 14



knowledge, skill and care ordinarily used by a reasonably well qualified radiologist or medical

provider, acting under same or similar circumstances and giving due consideration to the locality

involved when providing medical diagnoses, treatment and care of the minor Plaintiff Rafe Winn

on February 24th and 25th, 2014.

48.    Through its doctors, radiologists, employees, ostensible employees, agents and/or apparent

agents, On Line Radiology Medical Group, Inc. breached its duties to the Plaintiffs in one or more

of the following ways:

       a.       failing to appropriately and timely examine, test, diagnose and treat Rafe for

       appendicitis during his hospitalization of February 24th and 25th, 2014 at the Carlsbad

       Medical Center;

       b.       failing to correctly read and interpret the February 24th 2014 abdominal CT Scan

       performed at the Carlsbad Medical Center in Carlsbad New Mexico;

       c.       failing to provide Rafe with a surgical consultation for his acute abdomen or potential

       appendicitis at any time during his hospitalization of February 24th and 25th, 2014 at the

       Carlsbad Medical Center; and/or

       d.       otherwise failing to act as a reasonably prudent radiologist or medical provider for

       its patient admitted under a diagnosis of “acute abdominal pain, rule out appendicitis”.

49.    The medical negligence of the Defendant On Line Radiology Medical Group, Inc. also

includes failing to implement and/or follow reasonably policies and procedures for the appropriate

and timely examination, evaluation, testing, diagnosis, treatment and consultation of its patients

admitted to the Carlsbad Medical Center for acute abdominal pain that requires the need to rule out

appendicitis.


                                            Page 11 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 12 of 14



50.    Defendant On Line Radiology Medical Group, Inc.’s negligence was a cause of the minor

Rafe Winn’s injuries and damages, including but not limited to additional injuries, pain and infection

that required additional medical treatment, and it is reasonably likely Rafe will require further

related medical treatment for abdominal adhesions or other related care during his life.

       WHEREFORE, Plaintiffs Victoria Winn and Thaddeaus Winn, individually and as parents

and natural guardians of the Plaintiff minor child, Rafe Winn, pray for reasonable compensatory

damages against Defendant On Line Radiology Medical Group, Inc. in an amount to be proven at

trial, for their costs, for prejudgment and post-judgment interest and for such other and further relief

as may be permitted by law.

 COUNT IV - LIABILITY OF DEFENDANT PECOS VALLEY OF NEW MEXICO LLC UNDER THE
    DOCTRINE OF RESPONDEAT SUPERIOR AND LIABILITY FOR MEDICAL NEGLIGENCE

51.    Plaintiffs re-allege and incorporate herein as though set forth in the preceding paragraphs of

this complaint.

52.    The medical personnel of Pecos Valley Of New Mexico LLC who provided medical care to

the minor Plaintiff Rafe Winn on February 24th and 25th, 2014, including but not limited to Dr. Kwok

Sung, were employees, ostensible employees, agents and/or apparent agents of Defendant Pecos

Valley Of New Mexico LLC and were acting within the scope and course of their employment or

agency at all such times.

53.    Under New Mexico law, Defendant Pecos Valley Of New Mexico LLC , as the employer or

principal of said employees, ostensible employees, agents and/or apparent agents, including but not

limited to Dr. Kwok Sung, is vicariously liable for any negligent acts or omissions of its medical

doctors under the doctrine of Respondeat Superior.

54.    Defendant Pecos Valley Of New Mexico LLC through its doctors, employees, ostensible

                                            Page 12 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 13 of 14



employees, agents and/or apparent agents were under a duty to possess and apply the knowledge and

to use the skill and care ordinarily used by reasonably well qualified medical doctors, practicing

under same or similar circumstances, giving due consideration to the locality involved.

55.     Defendant Pecos Valley Of New Mexico LLC failed to possess and apply the knowledge,

skill and care ordinarily used by a reasonably well qualified medical doctor acting under same or

similar circumstances and giving due consideration to the locality involved when providing medical

diagnoses, treatment and care of the minor Plaintiff Rafe Winn on February 24th and 25th, 2014.

56.     Through its doctors, employees, ostensible employees, agents and/or apparent agents, Pecos

Valley Of New Mexico LLC breached its duties to the Plaintiffs in one or more of the following

ways:

        a.     failing to appropriately and timely examine, test, diagnose and treat Rafe for

        appendicitis during his hospitalization of February 24th and 25th, 2014 at the Carlsbad

        Medical Center;

        b.     failing to correctly read and interpret the February 24th 2014 abdominal CT Scan

        performed at the Carlsbad Medical Center in Carlsbad New Mexico;

        c.     failing to provide Rafe with a surgical consultation for his acute abdomen or potential

        appendicitis at any time during his hospitalization of February 24th and 25th, 2014 at the

        Carlsbad Medical Center; and/or

        d.     otherwise failing to act as a reasonably prudent radiologist or medical provider for

        its patient admitted under a diagnosis of “acute abdominal pain, rule out appendicitis”.

57.     The medical negligence of the Defendant Pecos Valley Of New Mexico LLC also includes

failing to implement and/or follow reasonably policies and procedures for the appropriate and timely


                                           Page 13 of 14
      Case 2:14-cv-01113-JAP-SMV Document 26 Filed 04/17/15 Page 14 of 14



examination, evaluation, testing, diagnosis, treatment and consultation of its patients admitted to the

Carlsbad Medical Center for acute abdominal pain that requires the need to rule out appendicitis.

58.    Defendant Pecos Valley Of New Mexico LLC negligence was a cause of the minor Rafe

Winn’s injuries and damages, including but not limited to additional injuries, pain and infection that

required additional medical treatment, and it is reasonably likely Rafe will require further related

medical treatment for abdominal adhesions or other related care during his life.

       WHEREFORE, Plaintiffs Victoria Winn and Thaddeaus Winn, individually and as parents

and natural guardians of the Plaintiff minor child, Rafe Winn, pray for reasonable compensatory

damages against Defendant Pecos Valley Of New Mexico LLC in an amount to be proven at trial,

for their costs, for prejudgment and post-judgment interest and for such other and further relief as

may be permitted by law.



                                                        Respectfully submitted;

                                                        WILL FERGUSON & ASSOCIATES

                                                          /s/Robert C. Gutierrez
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                                            Page 14 of 14
